Case 18-13848-BFK          Doc 20     Filed 03/05/19 Entered 03/05/19 18:58:47            Desc Main
                                      Document     Page 1 of 4


                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

__________________________________________
In re Isaac K. Amankwah                    :
                                           :                   Case No. 18-13848-BFK
             Debtor                        :
                                           :                   Chapter          7
__________________________________________:

           MEMORANDUM IN OPPOSITION TO UNITED STATES TRUSTEE’S
                           MOTION TO DISMISS

     COMES NOW Isaac K. Amankwah, by counsel, and opposes the Motion to Dismiss filed

herein by the United States Trustee, and, in support of which, states as follows:

                                       STATEMENT OF FACTS

1.        Debtor, Isaac K. Amankwah, is married to Ellen Amankwah, who is not a debtor in this

case. For purposes of this case, Mrs. Amankwah will be referred to as the Non-Filing Spouse

(“NFS”).

2.        Mrs. Amankwah is gainfully employed as a Director of Human Resources for ATI Solutions,

and grosses approximately $90,000/year.

3.        The couple have three dependent sons. Debtor’s Schedule J only lists one, which is an error.

4.        The two younger sons attend Flint Hill School, an expensive private preparatory school in

Oakton, VA. Mrs. Amankwah pays for their tuition, books and other incidentals, out of her own

pocket.

5.        The two younger sons also play football for Flint Hill. Mrs. Amankwah also pays the

expenses associated with being on the football team out of her own pocket.

6.        Mrs. Amankwah estimates that she pays approximately $1945/mo. out of her own pocket

for their sons to attend Flint Hill and play football. (Exhibits One and Two)

7.        The older son is a college student who lives off campus during the school year. He is unable
Case 18-13848-BFK         Doc 20    Filed 03/05/19 Entered 03/05/19 18:58:47               Desc Main
                                    Document     Page 2 of 4


to drive, so Mrs. Amankwah pays for him to Uber to and from class. She estimates that she pays

approximately $1440/mo. out of her own pocket for this son to attend college. (Exhibit 3)

8.     Mrs. Amankwah also pays, out of her own pocket, approximately $308/mo. for family

vacations.

9.     Mr. and Mrs. Amankwah send approximately $200/mo. to their families in Ghana.

10.    In response to the informal request of the United States Trustee, Mrs. Amankwah provided

voluminous documentation for these expenses.

11.    The United States Trustee is not challenging the accuracy of Mrs. Amankwah’s calculations,

but the fact that Mr. Amankwah seeks to exclude them from his current monthly income. Rather,

the United States Trustee argues that these are “household expenses”, presumably bringing them

within the ambit of 11 USC 101(10A)(B).

                                           ARGUMENT

       Debtor is married. If this were a joint case, that would end the discussion, because 11 USC

101(10A)(A) defines “current monthly income” as “the average monthly income from all sources

that the debtor receives (or in a joint case the debtor and the debtor’s spouse receive).” However,

this is not a joint case. Debtor’s spouse did not file bankruptcy, period, and is certainly not a party

to this case. Thus, “current monthly income” is defined by 11 USC 101(10A)(B), “any amount paid

by any entity other than the debtor (or in a joint case the debtor and the debtor’s spouse), on a

regular basis for the household expenses of the debtor or the debtor’s dependents (and in a joint case

the debtor’s spouse if not otherwise a dependent).”

       Debtor suggests to the Court that the primary question before the Court is the definition of

“household expenses,” which are not defined anywhere in the Bankruptcy Code, nor, apparently,

anywhere else in the United States Code or federal regulations. Debtor further suggests to the Court

that, while reason and common sense suggest that “household expenses” should be given the
Case 18-13848-BFK          Doc 20     Filed 03/05/19 Entered 03/05/19 18:58:47             Desc Main
                                      Document     Page 3 of 4


general meaning found in the vernacular, for purposes of bankruptcy, the only “household

expenses” which can actually be deducted are those reasonably necessary for the maintenance and

support of the Debtor and the Debtor’s dependents. Private school tuition, the costs of playing

high school football, college room, board and tuition, and vacations are not necessary expenses.

        In fact, the United States Trustee is the source for the standards used to prepare the

deductions built into the Means Test. https://www.justice.gov/ust/means-testing/20180501

        Section I of the Means Test calculations starts with Census Bureau data, which provides

median family income by state and family size.

        Section II of the Means Test references the IRS collection standards, namely, National

Standards: Food Clothing & Other Items, derived from data from the Bureau of Labor Statistics;

National Standards: Out-of-Pocket Health Care Expenses, derived from medical surveys, and Local

Standards. Housing and Utilities and Transportation, derived from Census and BLS data. These

standards are used by the Internal Revenue Service to fill out IRS Form 433, to determine whether a

taxpayer who is unable to pay their tax in full when due is eligible for some form of tax resolution.

Attached is a sample IRS Form 433 (Exhibit 4), Publication 1854, which explains how to fill out

Form 433 (Exhibit 5), and Section 5.15 from the Internal Revenue Manual (Exhibit 6, which goes

into the details of financial analysis in an IRS collection action).

        Revenue Officers are not “winging it” when they fill out Form 433, they adhere to the

Collection Standards, as directed by the Internal Revenue Manual. (The Bankruptcy Code does

allow for some deductions which are not contained in the Collection Standards, e.g., charitable

contributions. 11 U.S.C. § 1325(b)(2)(A)).

        Debtor submits to the Court that, absent a medically compelling reason, he, personally, as a

debtor, would not be allowed to deduct private school tuition for his minor children, nor would he

be allowed to deduct college room, board and tuition for his college age son, nor vacations, on his
Case 18-13848-BFK        Doc 20     Filed 03/05/19 Entered 03/05/19 18:58:47         Desc Main
                                    Document     Page 4 of 4


Means Test. If the shoe was on the other foot, and his wife was a joint debtor, she would not be

allowed to deduct those expenses, either.

       It is Debtor’s position that the above-described payments by Mrs. Amankwah would never

be allowed if she was a debtor. Therefore, they do not fall within the definition of “household

expenses”, 11 USC 101(10A)(B), and are, therefore, properly excluded from Debtor’s “current

monthly income” via Marital Adjustment.

   WHEREFORE, Debtors respectfully prays that the United States Trustee’s Motion to Dismiss

be DENIED.



                                                   Respectfully submitted,

                                                   Isaac K. Amankwah
                                                   By counsel
By:
__/s/ Lois Ilaine Upton___________
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                                 CERTIFICATE OF SERVICE

I hereby certify that a true copy of the above pleading was served pursuant to CM/ECF on the
United States Trustee and the Chapter 7 Trustee on this 5th day of March, 2018.

__/s/ Lois Ilaine Upton___________
Lois Ilaine Upton
